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   8

   9                        UNITED STATES DISTRICT COURT
  10                      SOUTHERN DISTRICT OF CALIFORNIA
  11   SALAM RAZUKI, individually and         Case No.: 3:17-cv-01718-LAB-WVG
       behalf of others similarly situated;
  12                                          THIRD AMENDED CLASS ACTION
                                 Plaintiff,   COMPLAINT FOR:
  13           vs.
                                              (1) NEGLIGENCE;
  14   CALIBER HOME LOANS, INC., a
       Delaware corporation;                  (2) VIOLATIONS OF THE RIGHT TO
  15                                              PRIVACY UNDER CALIFORNIA
                                                  CONSTITUTION ARTICLE I,
  16                      Defendant.              SECTION 1;
  17                                          (3) UNFAIR BUSINESS PRACTICES,
                                                  CALIFORNIA BUSINESS &
  18                                              PROFESSIONS CODE § 17200, et
                                                  seq.;
  19
                                              (4) VIOLATIONS OF THE
  20                                              CALIFORNIA INFORMATION
                                                  PRACTICES ACT, CIVIL CODE
  21                                              § 1798.80, et seq.; and
  22                                          (5) BAILMENT
  23                                          DEMAND FOR JURY TRIAL
  24

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   1         Plaintiff SALAM RAZUKI, individually and behalf of others similarly
   2   situated, brings this action against Defendant CALIBER HOME LOANS, INC. and
   3   DOES 1 through 100, inclusive (collectively (“Defendant”), and alleges on
   4   information and belief as follows:
   5                                       I.     PARTIES
   6         1.     Plaintiff Salam Razuki is, and at all relevant times was, an individual
   7   residing in the County of San Diego, California. He is an aggrieved customer of
   8   Defendant Caliber Home Loans, Inc.
   9         2.     Caliber Home Loans, Inc. (“Caliber”) is, and at all relevant times was, a
  10   Delaware Limited Liability Company doing business in the State of California,
  11   including in the County of San Diego.
  12         3.     At all times herein mentioned, each of the Defendants were the agents
  13   and employees of each of the remaining Defendants and, in doing the things alleged,
  14   was at all times acting within the purpose, course, and scope of said agency or
  15   employment with the knowledge, consent, permission, and subsequent ratification of
  16   each of the other Defendants.
  17                          II.    JURISDICTION AND VENUE
  18         4.     This Court has subject matter jurisdiction over this case under 28 U.S.C.
  19   § 1332.
  20         5.     This Court has jurisdiction over Defendant because it conducts
  21   substantial business in California and San Diego County. Defendant intentionally
  22   availed itself to the laws and markets of California through operation of its business
  23   in California and San Diego County.
  24         6.     Venue is proper in the Southern District of California pursuant to 28
  25   U.S.C. § 1391(b) and (c). A substantial part of the events or omissions giving rise to
  26   Plaintiff’ claims occurred in this judicial District.
  27

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   1                            III.   GENERAL ALLEGATIONS
   2         7.      Plaintiff re-alleges and incorporates by reference all preceding
   3   paragraphs.
   4         8.      Prior to January 18, 2017, as part of a loan transaction or attempted loan
   5   transaction, Defendant Caliber asked for, and Plaintiff provided, sensitive identifying
   6   information that Defendant required to process a loan application. This information
   7   includes—but is not limited to—his personal contact information, social security
   8   number, driver’s license number, and information regarding Plaintiff’s accounts at
   9   other financial institutions.
  10         9.      Plaintiff provided this information to Defendant with the reasonable
  11   expectation that Defendant would create and maintain processes that protected the
  12   information from unauthorized use or disclosure. He also reasonably believed that
  13   Defendant would dispose of this information when its legitimate usefulness ceased.
  14         10.     It is undisputed that, on or around January 18, 2017, unauthorized
  15   individuals gained access to Defendant’s electronically-stored loan files, including
  16   documents containing personally-identifying information. The unauthorized
  17   individuals also obtained information that made it possible to access Defendant’s
  18   customers’ online accounts. (Hereinafter, this event is referred to as the “Breach.”)
  19         11.     The purpose of the Breach was to obtain information related to
  20   Defendant’s customers, including private credit and identity-related information that
  21   could be used for fraudulent purposes in the future.
  22         12.     The information accessed included: social security numbers; driver’s
  23   license numbers; military or other government ID numbers; dates of birth; financial
  24   account names, numbers, and statements; digital signatures and/or information that
  25   could be used to access a Class Members’ online account or data storage sites;
  26   borrower submission data; health insurance information; and medical ID numbers.
  27   (This information is collectively referred to as “Confidential Customer Data.”)
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   1         13.    To help monitor his credit, Plaintiff paid for Experian’s credit
   2   monitoring services.
   3         14.    After the above-mentioned breach, Plaintiff was informed that an
   4   unknown party attempted to make numerous fraudulent transactions in his name,
   5   including the opening of new credit accounts.
   6         15.    Plaintiff was notified via email by Experian that a new credit an attempt
   7   to open a credit card, was made using his name and identifying information. Plaintiff
   8   did not attempt to open the credit card in this time period, so he knew it had to have
   9   come from a fraudulent source. Plaintiff is currently searching for records to identify
  10   the credit card company mentioned and will provide that information to Defendant
  11   and the Court when the records are located.
  12         16.    In short, Plaintiff’s identity had been stolen and exploited. And this theft
  13   and exploitation of Plaintiff’s identity–as well as the identities of his fellow class
  14   members—was proximately caused by Defendant actions and/or failure to act.
  15         17.    Plaintiff and his fellow class members spent time, money, energy, and
  16   effort managing the fallout from these attempted fraudulent transactions.
  17                a.    Specifically, Plaintiff took time away from the business that he
  18                      operates to manage the fallout from this breach of his privacy. The
  19                      time he took away from this retail business caused him lost sales,
  20                      which meant reduced income.
  21         18.    Plaintiff had money fraudulently withdrawn from his bank account with
  22   Wells Fargo. A Wells Fargo representative called Plaintiff to notify him of this fact.
  23   Plaintiff then confirmed that funds had been transferred from his Wells Fargo account
  24   to unknown accounts and for unknown purchases. To avoid overdrafts and other
  25   charges, Plaintiff had to move money from his other accounts to his Wells Fargo
  26   account to cover the amount that was stolen from him.
  27         19.    Plaintiff has suffered emotional distress because of the stress of knowing
  28   his Confidential Customer Data was accessed by unauthorized users. He also spent
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   1   time, energy, and funds attempting to remedy the wrongful disclosure and use of his
   2   data, including spending time monitoring transactions in his name, cancelling
   3   wrongfully-opened accounts, and interacting with his banks to change or close
   4   accounts that had been compromised.
   5         20.    To ensure further fraudulent charges do not occur, Plaintiff took
   6   remedial measures, which were necessary and which cost him time, money, and
   7   energy. Plaintiff continues to remain vigilant of other possible methods that would
   8   protect his credit and his identity, as the threat to his identity safety is ongoing.
   9         21.    In other words, the risk posed by the hackers who breached Caliber’s
  10   network is immediate and very real.
  11         22.    Moreover, had Plaintiff known that Defendant maintained lax security
  12   protocols, Plaintiff would not have expended the time and resources associated with
  13   using Defendant to process his application(s).
  14         23.    On information and belief, Plaintiff alleges that Defendant knew of
  15   higher-quality security protocols available to them, and about the threat of intrusion
  16   into their systems based on their inadequate security protocols. Nevertheless, despite
  17   this danger and the knowledge that they could easily be hacked, Defendant
  18   intentionally and egregiously refused to upgrade their security systems in a manner
  19   that would sufficiently protect the data of Plaintiff and the Class.
  20         24.    In all, the injuries suffered by Plaintiff and members of the Class as a
  21   direct result of the Breach include:
  22                a.     Unauthorized charges on their debit and credit card accounts;
  23                b.     Theft of their personal and financial information;
  24                c.     Costs associated with the detection and prevention of identity
  25   theft and unauthorized use of their financial accounts;
  26                d.     Loss of use of and access to their account funds, and costs
  27   associated with inability to obtain money from their accounts or being limited in the
  28   amount of money they were permitted to obtain from their accounts, including missed
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   1   payments on bills and loans, late charges and fees, and adverse effects on their credit,
   2   including decreased credit scores and adverse credit notations;
   3                  e.   Costs associated with time spent and the loss of productivity from
   4   taking time to address and attempt to ameliorate, mitigate and deal with the actual
   5   and future consequences of the data breach, including finding fraudulent charges,
   6   cancelling and reissuing cards, purchasing credit monitoring and identity theft
   7   protection services, imposition of withdrawal and purchase limits on compromised
   8   accounts, and the stress, nuisance and annoyance of dealing with all issues resulting
   9   from the breach;
  10                  f.   The imminent and certainly impending injury flowing from
  11   potential fraud and identify theft posed by their credit card and personal information
  12   being placed in the hands of criminals and already misused via the sale of Consumer
  13   Plaintiff’ and Class members’ information on the Internet card black market;
  14                  g.   Damages to and diminution in value of their personal and
  15   financial information entrusted to Defendant for the sole purpose of purchasing
  16   financial products or services from Defendant and with the mutual understanding that
  17   Defendant would safeguard Plaintiff’s and Class members’ data against theft and not
  18   allow access and misuse of their data by others;
  19                  h.   Overpayments paid to Caliber for financial products and services
  20   purchased during or after the Breach in that a portion of the price for such products
  21   or services paid by the Class to Caliber was for the costs of Caliber providing
  22   reasonable and adequate safeguards and security measures to protect customers’
  23   financial and personal data, which Caliber did not do, and as a result, Plaintiff and
  24   members of the Class did not receive what they paid for and were overcharged by
  25   Caliber; and
  26                  i.   Continued risk to their financial and personal information, which
  27   remains in the possession of Caliber and which is subject to further breaches so long
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   1   as Caliber fails to undertake appropriate and adequate measures to protect Plaintiff’s
   2   and Class members’ data in its possession.
   3         25.    Likewise, Plaintiff anticipates that he will suffer additional costs in the
   4   future to further protect himself against wrongful use of his data, including additional
   5   tools for cybersecurity, credit monitoring services, and other reasonable measures.
   6   Due to Defendant’ acts, Plaintiff now suffers an increased risk of future fraudulent
   7   charges and susceptibility to identify theft.
   8         26.    On June 23, 2017—over five months after the breach—Defendant sent
   9   a letter to its customers notifying them of the breach. Defendant also provided a
  10   sample version of this letter to the State of California, Department of Justice, Office
  11   of the Attorney General. Plaintiff received such a letter.
  12         27.    Defendant’s attempt to mitigate the damage done by the Breach were
  13   inadequate for the following reasons:
  14                a.     The alleged mitigation did not stop the funds from being
  15                       transferred out of Plaintiff’s Wells Fargo bank account;
  16                b.     The alleged mitigation did not stop unknown parties from
  17                       attempting to open a major credit card using Plaintiff’s personal
  18                       identifying information; and
  19                c.     The credit and identity monitoring services provided by
  20                       Defendant are insufficient to track all fraudulent transactions,
  21                       including the transfer of funds from Plaintiff’s Wells Fargo bank
  22                       account, and therefore do not protect from all harm caused by the
  23                       Breach.
  24         28.    Defendant had no reason to retain Plaintiff’s personal identifying
  25   information after the cessation of his loan application process. Defendant did not need
  26   to access this information once had it closed the file on this loan application, and thus
  27   Defendant failed to comply with applicable statutory authority regarding the
  28
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   1   dispensation of personal identifying information, including the California
   2   Information Practices Act.
   3                               IV.   CLASS ALLEGATIONS
   4          29.    Plaintiff re-alleges and incorporates by reference all preceding
   5   paragraphs.
   6          30.    Plaintiff brings this action on behalf of himself and all other similarly
   7   situated persons as a class action under Federal Rules of Civil Procedure 23(a), (b)(1),
   8   (b)(2), and (b)(3).
   9          31.    CLASS PERIOD. The Class Period shall be defined from January 1, 2017,
  10   to any such time the court deems appropriate.
  11          32.    CLASS DEFINITION. The Class is defined as:
  12                 All persons whose Confidential Customer Data was
                     compromised, in whole or in part, by the Breach.
  13

  14          33.    Members of the class will be collectively referred to as the “Class.” The
  15   Class does not include (1) Defendant, their officers, and/or their directors; or (2) the
  16   Judge to whom this case is assigned and the Judge’s staff.
  17          34.    Plaintiff reserves the right to amend the above class and to add additional
  18   classes and subclasses as appropriate based on investigation, discovery, and the
  19   specific theories of liability.
  20          35.    NUMEROSITY: The potential members of the Class as defined are so
  21   numerous that joinder of all the members is impracticable. While the precise number
  22   of class members has not been determined, Plaintiff is informed and believes that
  23   Defendant has access to data sufficient to identify the customers whose Confidential
  24   Customer Data was wrongfully accessed by unauthorized users.
  25          36.    Plaintiff is informed, believes, and on that basis alleges that Defendant’s
  26   records would provide information as to the number and location of all class
  27   members.
  28
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   1           37.   ADEQUACY OF REPRESENTATION: The named Plaintiff is fully prepared
   2   to take all necessary steps to fairly and adequately represent the interests of the class
   3   defined above. Plaintiff’s attorneys are ready, willing, and able to fully and
   4   adequately represent the class and individual Plaintiff. Plaintiff’s attorneys are highly
   5   experienced in consumer and employment class action litigation. Plaintiff intends to
   6   prosecute this action vigorously.
   7           38.   COMMON QUESTIONS         OF   LAW   AND   FACT: There are predominant
   8   common questions of law and fact and a community of interest amongst Plaintiff’s
   9   and the claims of the Class concerning:
  10                    a. Whether Defendant violated California Constitution Article I,
  11   Section 1 in their mismanagement of the Confidential Customer Data and allowance
  12   of the Breach;
  13                    b. Whether Defendant violated California Civil Code section
  14   1798.81 in their management of the Confidential Customer Data and allowance of
  15   the Breach;
  16                    c. Whether Defendant violated Civil Code section 1798.81.5 by
  17   failing to properly enact sufficient security protocols;
  18                    d. Whether Defendant violated Civil Code section 1798.82 by
  19   failing to timely notify Class members that their information was compromised;
  20                    e. Whether Class members may obtain injunctive relief under Civil
  21   Code section 1798.84 or under Business and Professions Code sections 17200, et
  22   seq.;
  23                    f. What security procedures Defendant must adopt to remedy the
  24   currently-inadequate state of their security systems;
  25                    g. What notification policies Defendant must adopt to ensure they
  26   timely notify their customers of any future data breaches;
  27                    h. Whether Defendant’s conduct violates public policy;
  28                    i. Whether Defendant has violated the laws asserted herein;
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    1                    j. Whether Plaintiff and the Class may recover monetary damages;
    2                    k. Whether Plaintiff and the Class may obtain an order of restitution;
    3   and
    4                    l. Whether Plaintiff and the Class may obtain injunctive relief.
    5         39.     TYPICALITY: The claims of the Plaintiff are typical of the claims of all
    6   members of the Class because Defendant failed to reasonably preserve and protect
    7   Plaintiff’s and the Class’s Confidential Customer Data.
    8         40.     SUPERIORITY OF A CLASS ACTION: A class action is superior to other
    9   available means for the fair and efficient adjudication of this controversy. Individual
   10   joinder of all Class members is not practicable, and questions of law and fact common
   11   to the Class predominate over questions affecting only individual Class members.
   12   Each Class member has been damaged and is entitled to recovery due to Defendant’
   13   conduct described in this Complaint. A class action will allow those similarly situated
   14   to litigate their claims in the most efficient and economical manner for the parties and
   15   the judiciary. Plaintiff is unaware of any difficulties likely to be encountered in this
   16   action that would preclude its maintenance as a class action.
   17                              V.     CAUSES OF ACTION
   18                          FIRST CAUSE OF ACTION
                                    NEGLIGENCE
   19                   AGAINST ALL DEFENDANT, ON BEHALF OF
                              PLAINTIFF AND THE CLASS
   20

   21         41.     Plaintiff re-alleges and incorporates by reference all preceding
   22   paragraphs.
   23         42.     Defendant owed Plaintiff and the Class a duty to maintain processes and
   24   procedures that protect and ensure the confidentiality and protection from
   25   unauthorized use and disclosure of private information, including the Confidential
   26   Customer Data. Defendant themselves acknowledge this duty on their own websites,
   27   admitting that “[k]eeping [customer] information secure and confidential is a very
   28
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    1   important   responsibility   of     ours.”   See   https://caliberhomeloans.com/tools-
    2   resources/legal/security (last accessed December 1, 2017).
    3         43.    Caliber owed a duty to Plaintiff and the other Class members to exercise
    4   reasonable care in obtaining, retaining, securing, safeguarding, deleting and
    5   protecting their personal and financial information in its possession from being
    6   compromised, lost, stolen, accessed and misused by unauthorized persons. This duty
    7   included, among other things, designing, maintaining, and testing Caliber’s security
    8   systems to ensure that Plaintiff’ and the other Class members’ personal and financial
    9   information in Caliber’s possession was adequately secured and protected. Caliber
   10   further owed a duty to Plaintiff and the other Class members to implement processes
   11   that would detect a breach of its security system in a timely manner and to timely act
   12   upon warnings and alerts, including those generated by its own security systems.
   13         44.    Caliber owed a duty of care to Plaintiff and the other Class members
   14   because they were foreseeable and probable victims of any inadequate security
   15   practices. Caliber solicited, gathered, and stored the personal and financial data
   16   provided by Plaintiff and the other Class members to facilitate its provision of credit
   17   score and other financial information to customers. Caliber knew it inadequately
   18   safeguarded such information on its computer systems and that hackers routinely
   19   attempted to access this valuable data without authorization.
   20         45.    Caliber’s duty to use reasonable data security measures also arose under
   21   Section 5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, which
   22   prohibits “unfair…practices in or affecting commerce,” including, as interpreted and
   23   enforced by the FTC, the unfair practice of failing to use reasonable measures to
   24   protect Personal Information by companies such as Caliber. Various FTC
   25   publications and data security breach orders further form the basis of Caliber’s. In
   26   addition, individual states have enacted statutes based upon the FTC Act that also
   27   created a duty. For this reason, Caliber was negligent per se for failing to comply
   28   with the above-discussed statues.
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    1         46.    Caliber owed a duty to timely and accurately disclose to Plaintiff and
    2   the other Class members that their personal and financial information had been or
    3   was reasonably believed to have been compromised. Timely disclosure was required,
    4   appropriate and necessary so that, among other things, Plaintiff and the other Class
    5   members could take appropriate measures to avoid unauthorized charges to their
    6   credit or debit card accounts, cancel or change usernames and passwords on
    7   compromised accounts, monitor their account information and credit reports for
    8   fraudulent activity, contact their banks or other financial institutions that issue their
    9   credit or debit cards, obtain credit monitoring services and take other steps to mitigate
   10   or ameliorate the damages caused by Caliber’s misconduct
   11         47.    Caliber’s own conduct also created a foreseeable risk of harm to Plaintiff
   12   and the other Class members. Caliber’s misconduct included, but was not limited to,
   13   its failure to take the steps and opportunities to prevent and stop the data breach as
   14   set forth herein. Caliber’s misconduct also included its decision not to comply with
   15   industry standards for the safekeeping and maintenance of the personal and financial
   16   information of Plaintiff and the other Class members.
   17         48.    Defendant breached their duty of care by (1) failing to create and/or
   18   maintain sufficient security systems or protocols to prevent the unauthorized use,
   19   access, disclosure, and/or compromise of Plaintiff’s and the Class’s Confidential
   20   Customer Data; (2) failing to promptly and/or adequately mitigate the damages
   21   flowing from the original breach; (3) failing to properly dispose of the Confidential
   22   Customer Data when its legitimate usefulness ceased; and (4) failing to properly
   23   remedy the breach by waiting over five months to notify customers of the breach,
   24   leaving Plaintiff and the Class without the information they need to properly protect
   25   their finances, identity, and privacy.
   26         49.    Defendant knew, or should have known, that these failures would cause
   27   this foreseeable harm that Plaintiff and the Class suffered.
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    1         50.    Defendant actually and proximately caused the damages that Plaintiff
    2   and the Class suffered as a result of Defendant’s breach of duty. The theft and
    3   exploitation of Plaintiff’s identity—as well as the identities of his fellow class
    4   members—was proximately caused by Defendant’s actions and/or failure to act.
    5         51.    In all, the injuries suffered by Plaintiff and members of the Class as a
    6   direct result of the Breach include:
    7                a.     Unauthorized charges on their debit and credit card accounts;
    8                b.     Theft of their personal and financial information;
    9                c.     Costs associated with the detection and prevention of identity
   10   theft and unauthorized use of their financial accounts;
   11                d.     Loss of use of and access to their account funds, and costs
   12   associated with inability to obtain money from their accounts or being limited in the
   13   amount of money they were permitted to obtain from their accounts, including missed
   14   payments on bills and loans, late charges and fees, and adverse effects on their credit
   15   including decreased credit scores and adverse credit notations;
   16                e.     Costs associated with time spent and the loss of productivity from
   17   taking time to address and attempt to ameliorate, mitigate and deal with the actual
   18   and future consequences of the data breach, including finding fraudulent charges,
   19   cancelling and reissuing cards, purchasing credit monitoring and identity theft
   20   protection services, imposition of withdrawal and purchase limits on compromised
   21   accounts, and the stress, nuisance and annoyance of dealing with all issues resulting
   22   from the breach;
   23                f.     The imminent and certainly impending injury flowing from
   24   potential fraud and identify theft posed by their credit card and personal information
   25   being placed in the hands of criminals and already misused via the sale of Consumer
   26   Plaintiff’ and Class members’ information on the Internet card black market;
   27                g.     Damages to and diminution in value of their personal and
   28   financial information entrusted to Defendant for the sole purpose of purchasing
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    1   financial products or services from Defendant and with the mutual understanding that
    2   Defendant would safeguard Plaintiff’s and Class members’ data against theft and not
    3   allow access and misuse of their data by others;
    4                  h.    Overpayments paid to Caliber for financial products and services
    5   purchased during or after the Breach in that a portion of the price for such products
    6   or services paid by the Class to Caliber was for the costs of Caliber providing
    7   reasonable and adequate safeguards and security measures to protect customers’
    8   financial and personal data, which Caliber did not do, and as a result, Plaintiff and
    9   members of the Class did not receive what they paid for and were overcharged by
   10   Caliber; and
   11                  i.    Continued risk to their financial and personal information, which
   12   remains in the possession of Caliber and which is subject to further breaches so long
   13   as Caliber fails to undertake appropriate and adequate measures to protect Plaintiff’s
   14   and Class members’ data in its possession.
   15                     SECOND CAUSE OF ACTION
                    VIOLATIONS OF THE RIGHT TO PRIVACY
   16        UNDER CALIFORNIA CONSTITUTION ARTICLE I, SECTION 1
               AGAINST ALL DEFENDANT, ON BEHALF OF PLAINTIFF
   17                          AND THE CLASS
   18         52.      Plaintiff re-alleges and incorporates by reference all preceding
   19   paragraphs.
   20         53.      The California Constitution states:
   21                  All people are by nature free and independent and have
                       inalienable rights. Among these are enjoying and
   22                  defending life and liberty, acquiring, possessing, and
                       protecting property, and pursuing and obtaining safety,
   23                  happiness, and privacy.
   24         54.      California has enacted numerous laws that exemplify this right,
   25   including the Information Practices Act of 1977 (Civ. Code, § 1798, et seq.), the
   26   Confidentiality of Social Security Numbers (Civ. Code, § 1798.85, et seq.), and
   27   California Code of Regulations, Title 5, Sections 42396-42396.5.
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    1         55.    Plaintiff and the Class have an interest in precluding the dissemination
    2   and misuse of sensitive and confidential information—specifically, the Confidential
    3   Customer Data.
    4         56.    Plaintiff and the Class had a reasonable expectation that the Confidential
    5   Customer Data would remain private and protected, and that Defendant would
    6   maintain adequate security procedures to ensure that reasonable expectation was met.
    7         57.    Despite this reasonable expectation, Defendant egregiously failed to
    8   institute adequate security measures, resulting in the Breach. They avoided instituting
    9   these adequate security measures in order to save funds and churn a higher profit,
   10   risking their customers’ Confidential Customer Data in exchange for higher profit
   11   margins.
   12         58.    Defendant violated Plaintiff’s and the Class’s right to privacy by
   13   (1) failing to create and/or maintain sufficient security systems or protocols to prevent
   14   the unauthorized use, access, disclosure, and/or compromise of Plaintiff’s and the
   15   Class’s Confidential Customer Data; (2) failing to promptly and/or adequately
   16   mitigate the damages flowing from the original breach; (3) failing to properly dispose
   17   of the Confidential Customer Data when its legitimate usefulness ceased; and
   18   (4) failing to properly remedy the breach by waiting over five months to notify
   19   customers of the breach, leaving Plaintiff and the Class without the information they
   20   need to properly protect their finances, identity, and privacy.
   21         59.    Plaintiff and the Class have suffered injury in fact as a direct result of
   22   Defendant’s failures, as described in the preceding paragraphs and as will be detailed
   23   through discovery. As such, Plaintiff and the Class request damages in an amount to
   24   be proven at trial.
   25         60.    Plaintiff and the Class also seek injunctive relief including, but not
   26   limited to: (1) ordering that Defendant utilize strong industry standard encryption
   27   algorithms for encryption keys that provide access to stored personal data; (2)
   28   ordering that Defendant implement the use of encryption keys in accordance with
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    1   industry standards; (3) ordering that Defendant, consistent with industry standard
    2   practices, engage third party security auditors/penetration testers as well as internal
    3   security personnel to conduct testing, including simulated attacks, penetration tests
    4   and audits on Defendant’ systems on a periodic basis; (4) ordering that Defendant
    5   engage third party security auditors and internal personnel, consistent with industry
    6   standard practices, to run automated security monitoring; (5) ordering that Defendant
    7   audit, test and train its security personnel regarding any new or modified procedures;
    8   (6) ordering that Defendant, consistent with industry standard practices, segment
    9   personal data by, among other things, creating firewalls and access controls so that if
   10   one area of Defendant’s systems is compromised, hackers cannot gain access to other
   11   portions of Defendant’s systems; (7) ordering that Defendant purge, delete, destroy
   12   in a reasonably secure manner personal data not necessary for its provisions of
   13   services; (8) ordering that Defendant, consistent with industry standard practices,
   14   conduct regular database scanning and security checks; (9) ordering that Defendant,
   15   consistent with industry standard practices, evaluate web applications for
   16   vulnerabilities to prevent web application threats; and (10) ordering that Defendant,
   17   consistent with industry standard practices, periodically conduct internal training and
   18   education to inform internal security personnel how to identify and contain a breach
   19   when it occurs and what to do in response to a breach.
   20         61.    Plaintiff further requests that the Court order Defendant to notify all
   21   members of the Class who have not yet been informed of the data breach, and to
   22   notify affected persons of any future data breaches by email within twenty-four hours
   23   of Defendant’s discovery of the breach or possible breach, and to do the same by mail
   24   within five business days.
   25

   26   [rest of page intentionally left blank]
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    1                     THIRD CAUSE OF ACTION
                        UNFAIR BUSINESS PRACTICES,
    2       CALIFORNIA BUSINESS & PROFESSIONS CODE §§ 17200, et seq.
              AGAINST ALL DEFENDANT, ON BEHALF OF PLAINTIFF
    3                         AND THE CLASS
    4           62.   Plaintiff re-alleges and incorporates by reference all preceding
    5   paragraphs.
    6           63.   California Business & Professions Code section 17200 prohibits any
    7   “unlawful, unfair, or fraudulent business act or practice. . . .” As discussed above,
    8   Defendant violated this code.
    9           64.   Specifically, Defendant violated Business & Professions Code section
   10   17200 by (1) failing to create and/or maintain sufficient security systems or protocols
   11   to prevent the unauthorized use, access, disclosure, and/or compromise of Plaintiff’s
   12   and the Class’s Confidential Customer Data; (2) failing to promptly and/or
   13   adequately mitigate the damages flowing from the original breach; (3) failing to
   14   properly dispose of the Confidential Customer Data when its legitimate usefulness
   15   ceased; (4) failing to properly remedy the breach by waiting over five months to
   16   notify customers of the breach, leaving Plaintiff and the Class without the information
   17   they need to properly protect their finances, identity, and privacy; and (5) by failing
   18   to comply with laws applicable to the management of the Confidential Customer
   19   Data.
   20           65.   Plaintiff bases this claim on violations of the following laws:
   21                 a.    California Civil Code section 1798.80, et seq., the California
   22                       Information Practices Act;
   23                 b.    The Privacy Act of 1974, 5 U.S.C. §§ 552a, which prevents
   24                       collectors of personal data from allowing that data to be
   25                       disseminated without authorization from the originator of that
   26                       data; and
   27                 c.    Section 5 of the Federal Trade Commission Act (“FTC Act”), 15
   28                       U.S.C. § 45, which prohibits “unfair…practices in or affecting
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    1                         commerce,” including, as interpreted and enforced by the FTC,
    2                         the unfair practice of failing to use reasonable measures to protect
    3                         Personal Information by companies such as Caliber. Various FTC
    4                         publications and data security breach orders further form the basis
    5                         of Caliber’s. In addition, individual states have enacted statutes
    6                         based upon the FTC Act that also created a duty
    7         66.     Plaintiff suffered lost money from his Wells Fargo bank account, from
    8   which funds were transferred without his consent. See Bus. & Prof. Code § 17204.
    9         67.     Plaintiff and the Class reserve the right to allege other violations of law
   10   which constitute other unlawful business acts or practices. Such conduct is ongoing
   11   and continues to this date.
   12         68.     Plaintiff and the Class have suffered injury in fact as a direct result of
   13   Defendant’s failures, as described in the preceding paragraphs and as will be detailed
   14   through discovery. As such, Plaintiff and the Class request damages in an amount to
   15   be proven at trial.
   16         69.     Plaintiff and the Class also seek injunctive relief as described above.
   17         70.     Plaintiff and the Class also seek an order mandating Defendant create
   18   new notification practices, as described above.
   19         71.     Additionally, pursuant to Business & Professions Code section 17203,
   20   Plaintiff seeks an order requiring Defendant to immediately cease such acts of
   21   unlawful, unfair and fraudulent business practices.
   22                       FOURTH CAUSE OF ACTION
                  VIOLATIONS OF THE CALIFORNIA INFORMATION
   23               PRACTICES ACT CIVIL CODE §§ 1798.80, et seq.
                 AGAINST ALL DEFENDANT, ON BEHALF OF PLAINTIFF
   24                            AND THE CLASS
   25         72.     Plaintiff re-alleges and incorporates by reference all preceding
   26   paragraphs.
   27         73.     The Legislature enacted the Information Practices Act of 1977 because:
   28
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    1                (a) The right of privacy is being threatened by the
                     indiscriminate collection, maintenance, and dissemination
    2                of personal information and the lack of effective laws and
                     legal remedies.
    3
                     (b) The increasing use of computers and other sophisticated
    4                information technology has greatly magnified the potential
                     risk to individual privacy that can occur from the
    5                maintenance of personal information.
    6                (c) In order to protect the privacy of individuals, it is
                     necessary that the maintenance and dissemination of
    7                personal information be subject to strict limits.
    8   (Civ. Code, § 1798.1.)
    9         74.    Defendant violated Civil Code section 1798.81.5 by (1) failing to create
   10   and/or maintain sufficient security systems or protocols to prevent the unauthorized
   11   use, access, disclosure, and/or compromise of Plaintiff’s and the Class’s Confidential
   12   Customer Data; (2) failing to promptly and/or adequately mitigate the damages
   13   flowing from the original breach; (3) failing to properly dispose of the Confidential
   14   Customer Data when its legitimate usefulness ceased; and (4) failing to properly
   15   remedy the breach by waiting over five months to notify customers of the breach,
   16   leaving Plaintiff and the Class without the information they need to properly protect
   17   their finances, identity, and privacy.
   18         75.    Civil Code sections 1798.81.5 and 1798.82 authorize the Court to enjoin
   19   Defendant from further and/or continuing violations.
   20         76.    Plaintiff and the Class have suffered injury in fact as a direct result of
   21   Defendant’ failures, as described in the preceding paragraphs and as will be detailed
   22   through discovery. As such, Plaintiff and the Class request damages in an amount to
   23   be proven at trial.
   24         77.    Plaintiff and the Class also seek injunctive relief as described above.
   25         78.    Plaintiff and the Class also seek an order mandating Defendant create
   26   new notification practices, as described above.
   27

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    1                       FIFTH CAUSE OF ACTION
                                  BAILMENT
    2           AGAINST ALL DEFENDANT, ON BEHALF OF PLAINTIFF
                                AND THE CLASS
    3

    4         79.     Plaintiff re-alleges and incorporates by reference all preceding
    5   paragraphs.
    6         80.     Plaintiff and the other Class members provided, or authorized
    7   disclosure of, their personal and financial information to Caliber for the exclusive
    8   purpose of Caliber preparing consumer reports, credit monitoring and identity theft
    9   protection, and similar services and legitimate business uses.
   10         81.     In allowing their personal and financial information to be made
   11   available to Caliber, Plaintiff and the other Class members intended and understood
   12   that Caliber would adequately safeguard their personal and financial information.
   13         82.     Caliber accepted possession of Plaintiff’s and the other Class members’
   14   personal and financial information for the purpose of making available to Plaintiff
   15   and the other Class members Caliber’s services for their benefit.
   16         83.     By accepting possession of Plaintiff’s and the other Class members’
   17   personal and financial information, Caliber understood that Plaintiff and the other
   18   Class members expected Caliber to adequately safeguard their personal and financial
   19   information. Accordingly, a bailment (or deposit) was established for the mutual
   20   benefit of the parties. During the bailment (or deposit), Caliber owed a duty to
   21   Plaintiff and the other Class members to exercise reasonable care, diligence, and
   22   prudence in protecting their personal and financial information.
   23         84.     Caliber breached its duty of care by failing to take appropriate measures
   24   to safeguard and protect Plaintiff’s and the other Class members’ personal and
   25   financial information, resulting in the unlawful and unauthorized access to and
   26   misuse of Plaintiff’ and the other Class members’ personal and financial information.
   27         85.     Caliber further breached its duty to safeguard Plaintiff’s and the other
   28   Class members’ personal and financial information by failing to timely and
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    1   accurately notify them that their information had been compromised as a result of the
    2   Caliber Data Breach.
    3          86.    As a direct and proximate result of Caliber’s breach of its duty, Plaintiff
    4   and the other Class members suffered consequential damages that were reasonably
    5   foreseeable to Caliber, including but not limited to the damages set forth above. As a
    6   direct and proximate result of Caliber’s breach of its duty, the personal and financial
    7   information of Plaintiff and the other Class members entrusted, directly or indirectly,
    8   to Caliber during the bailment (or deposit) was damaged and its value diminished.
    9                               VI.    PRAYER FOR RELIEF
   10          Plaintiff prays for judgment against Defendant, on behalf of himself and the
   11   Class, as follows:
   12          1.     For an order certifying the class as described herein;
   13          2.     For compensatory damages according to proof;
   14          3.     For enhanced damages and civil penalties as permitted under California
   15   law;
   16          4.     For pre-judgment and post-judgment interest where allowable;
   17          5.     For costs of suit;
   18          6.     For injunctive relief, as described herein;
   19          7.     For restitution;
   20          8.     For punitive damages, where appropriate;
   21          9.     For reasonable attorneys’ fees; and
   22          10.    For such other and further relief as this Court may deem just and proper.
   23                                      JURY DEMAND
   24          Plaintiff requests a jury on all triable issues.
   25

   26   [signature of counsel appears on following page]
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    1   Respectfully submitted:
    2
        Dated: July 6, 2018              NICHOLAS & TOMASEVIC, LLP
    3

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